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                      UNITED STATES DISTRICT COURT
                                                  for the
                                       Eastern District of New York


                     Orbin Zaldivar
                                                                   )
                          Plaintiff                                )
                                                                   )
                             v.                                    )
                                                                   )    Civil Action No. 2:23-cv-01434
                                                                   )
JANL, Inc. d/b/a Sergio’s Pizzeria & Restaurant, Sergio
                                                                   )
 Olivero, Severina Olivero and Luciano Olivero a/k/a
                                                                   )
                    Louis Olivero
                                                                   )
                         Defendant


                                      AFFIDAVIT OF SERVICE


I, Julie Byrne (Only serves in NY), being duly sworn, state:

The undersigned being duly sworn, deposes and says: Julie Byrne (Only serves in NY) is not a party to the
action, is over 18 years of age and resides at 38 1st Street, Kings Park, NY 11754.

I served the following documents on Luciano Olivero in Suffolk County, NY on July 6, 2023 at 5:01 pm at
24 Klaibar Lane, East Northport, NY 11731 by personal service by handing the following documents to an
individual identified as Luciano Olivero.

Complaint
Summons in a Civil Action

Additional Description:
Luciano accepted service of the papers and acknowledged it was him.

White Male, est. age 38, glasses: N, Black hair, 200 lbs to 220 lbs, 5' 9" to 6'.
Geolocation of Serve: https://google.com/maps?q=40.8526000977,-73.2978673612

I DECLARE UNDER PENALTY OF PERJURY THAT THE FACTS HEREIN ARE TRUE AND
CORRECT.




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Executed in
                                                        /s/ Julie Byrne Only serves in NY
   Suffolk County                                 ,     Signature
                                                        Julie Byrne (Only serves in NY)
   NY         on    7/7/2023               .            +1 (631) 579-2381


Below are my previous attempts at serving Luciano Olivero:

Date / Time: July 6, 2023 10:48 am
Address: 24 Klaibar Lane, East Northport, NY 11731
Geolocation: https://google.com/maps?q=40.8531799316,-73.2980321734
Description: Knocked on the door and rang doorbell. They had a ring camera. There was a car in the
driveway. No response at the door.




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